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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
CHARLES M. KUPPERMAN                )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )   Civil Action No. 1:19-cv-3224 (RJL)
                                    )
UNITED STATES HOUSE OF              )
REPRESENTATIVES, et al.             )
                                    )
                  Defendants.       )

                                  NOTICE OF APPEARANCE

       Please take notice that James M. Burnham, United States Department of Justice, Civil

Division, Federal Programs Branch, hereby enters her appearance as counsel for Defendant Donald

J. Trump, in his official capacity as President of the United States.


Dated: October 29, 2019                            Respectfully submitted,

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                                                   JAMES M. BURNHAM
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                                                   JAMES J. GILLIGAN
                                                   Special Litigation Counsel

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                                                   Deputy Director

                                                   /s/ James M. Burnham
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